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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                           Civil No. 21-cv-2156-DSD-TNL

 OLENA KALICHENKO,

                      Plaintiff,
                                                               [PROPOSED]
         v.                                                       ORDER

 WARDEN STARR,
 FCI Waseca, Minnesota,

                      Defendant.


         Upon consideration of the Defendants’ Motion to Dismiss (Dkt. No. 43), IT IS

HEREBY ORDERED that the Plaintiff’s Amended Complaint in this action is dismissed,

with each party to bear its own attorney’s fees, costs, and expenses.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated:                                           ____________________________
                                                 The Honorable Michael J. Davis
                                                 United States District Court Judge
